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United States Court of Appeals

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UNITED STATES COURT OF APPEALS March 28, 2008
FOR THE FIFTH CIRCUIT Charles R. Fulbruge III
Clerk

No. 07-10883
Summary Calendar

D.C. Docket No. 3:05-CV-2460

SHERONDA DANIELS, Individually and on Behalf of the Estate
of L V Daniels Jr Deceased; L V DANIELS, SR, Individually
and on Behalf of the Estate of L V Daniels Jr Deceased;
LILLIE RUE DANIELS, Individually and on Behalf of the Estate
of L V Daniels Jr Deceased

Plaintiffs - Appellants

Vv.

CITY OF DALLAS; KENT OWEN WOLVERTON, City of Dallas Officer
Individually and in his Official Capacity

Defendants - Appellees
Appeal from the United States District Court for the
Northern District of Texas, Dallas.

Before HIGGINBOTHAM, STEWART, and OWEN, Circuit Judges.

JUDGMENT

This cause was considered on the record on appeal and the
briefs on file.

It is ordered and adjudged that the judgment of the District
Court is affirmed.

IT IS FURTHER ORDERED that plaintiffs-appellants pay to
defendants-appellees the costs on appeal to be taxed by the Clerk

of this Court. A True Copy
Attest May 22 2008
ISSUED AS MANDATE: yay 2 2 2008 Clerk, U.S. Court of Appeals, Fifth Circuit
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By: -) Nader Uuedy
Deputy v /

New Orleans, Louisiana
